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THE UNIVERSITY OF TEXAS AT AUSTIN



                                        RECOMMENDATION                            FOR CHANGE IN ACADEMIC                                       RANKSTATUS



Name           Tiwari Mohit                 EID             mt28295          Present Rank              Assistant Professor



Years of Academic               Service     Include          Al 201819 in each count

At UT Austin since               912013               monthdayyear Total Years at UT Austin                                  6



In   Present     Rank since          912013            monthdayyear Total Years in Present Rank                                  6



Tenure track          only
Number of Years in Probationary                        Status     6



Additional       information          NA


Primary Department                Electrical          and   Computer Engineering


CollegeSchool             Engineering Cockrell                  School of



Joint   Department              NA

CollegeSchool             NA

Other     Departments             NA

        Recommendation                actions



             By Budget CouncilExecutive Committee                                     Promote



             Vote2       for promotion           32     Against    O Abstain               Absent 0       Ineligible to          vote 2



             By Department             Chair           Promote



             By CollegeSchool Advisory Committee                                   Promote



             Vote2       for promotion           7      Against    0     Abstain       0     Absent       0        Ineligible     to    vote 0



             By Dean            Promote




Administrative           Action                        Promote         to   Associate            Professor


Date Action Effective                 September        12019

To be submitted to the Board of Regents                            as part      of the annual        budget




By                                                                                                                    Date            February 15 2019
                                      FOr the        President




See Chatt        of   Reconunended       Actions        for eligible   recommended         actions                     to               conditions      and administrative    levels
                                                                                                      applicable            specific


                                                                                                                                       number of absent                           members
                                                                                                                                                                                            P's 146
                                                                                                                                                                                            The number of
2Record    all   votes    for   and    against       promotion    abstentions    by   eligible   voting   members           and the                           eligible   voting

committee      members ineligible       to vote      should also be recorded          Enter zero     where    it   1 ould    °them     ise   be blank



EVPP415
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T   The   University of   Texas   at   Austin

VY Cockrell School of Engineering



                                                                 Deans Assessment
                                                                       Mohit Tiwari
                                         Department of Electrical and Computer Engineering
                                                           Cockrell     School of Engineering




    Dr Mohit Tiwari received                his   BTech     in computer          science and engineering in 2005 from the Indian

    Institute    of Technology           Guwahati and            his   MS and PhD in computer science from the University of
    California Santa        Barbara in 2010 and               2011       respectively      He was a postdoc            at the   University        of

    California Berkeley for two years                  before      joining      the Department of Electrical and Computer

    Engineering        ECE as an assistant professor                     in   September 2013         If   promoted to associate professor
    in   September 2019 he will have accumulated                          six years of probationary            service



    Dr Tiwaris research                focuses on developing secure computer systems                          The     proliferation of

    computer systems including                    social   and cloud computing             has exacerbated           security vulnerabilities

    Traditional        techniques       of patching        vulnerabilities       as   they are   identified    is   no longer a sustainable
    approach      to   building secure computer systems that are needed for the healthcare                                      election      and
    mobile computing systems of the future                         Dr Tiwari has made important advances toward
    developing the hardware and software systems necessary to protect data                                           Important developments
    include     architectural          mechanisms that enable information leak free hardware enclaves
    containerized data for web services and anomaly detection                                mechanisms              His work     is   directly

    related to one        of the Cockrell         Schools four priority research             areas        advancing      intelligent        systems
    and man machine             symbiosis


    Ten external letters were submitted                     as   part of the promotion           dossier with six letter writers

    selected    by the budget council                Nine letter writers are current or previous faculty members at peer

    universities       in the   US and one is a principal research                    scientist at Visa      Research



    Several connections            exist between           the letter writers and         Dr Tiwari but        I    consider    all    of them to be

    arms length         reviewers



               John Kubiatowicz             UC Berkeley           is   technically     not arms length as he is a coauthor on a

               2013 conference             paper     As explained in the dossier Dr Tiwari was a postdoc                               at   Berkeley
               when the research was conducted                         and Dr Kubiatowicz was the co advisor of one of the

               graduate students with whom                    Dr Tiwari collaborated directly However Dr Tiwari did not
               collaborate directly with              Dr Kubiatowicz
               In his letter      Onur Mutlu         ETH Zurich and Carnegie                Mellon        refers to a   2016      invited     paper
               that summarized             the topics      presented          during a conference         session    that   he coauthored           with

               Dr Tiwari          This paper was a compilation                   of information     presented        by others and

               represents an editorial rather than technical collaboration

               David Brooks Harvard Scott Mahlke Michigan Moinuddin Qureshi Georgia Tech and
               Dr Tiwari are associated with C FAR Center for Future Architectures Research at the
               University       of Michigan         The center engages faculty at many universities Michigan
               Columbia Duke Georgia Tech HarvardIllinois MIT Princeton Stanford UCBerkeley
               UCLA UCSan Diego UT Virginia and Washington and     does not appear that Dr Tiwari   it



               has collaborated directly with any of the letter writers
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Teaching
While    in    rank Dr Tiwari taught one required undergraduate course and one graduate                                             elective    He
also   organized a Freshman Research Initiative                             stream through the College of Natural Sciences                     and
served as a mentor The CIS data from the FRI courses                                  will   not be addressed because              Dr Tiwari
was not directly responsible for teaching the courses


Dr Tiwaris instructor                ratings       have oscillated between            35 and 46 in the undergraduate course                     In

his teaching       statement          Dr Tiwari addressed the challenges he has faced                             in   teaching   the embedded

systems course and the changes that he has made to improve the student satisfaction                                                 He solicits
feedback       from the students throughout                      the semester and appears           to    be receptive        to their

suggestions         His most challenging semester Spring                         2017 also corresponded to the largest number
of students       78 in the class He seems to have addressed the students primary concerns as his
average        instructor      rating       was much higher in Spring 2018


Dr Tiwaris teaching                at the    graduate level has been consistently strong


Research

Dr Tiwari has established a very strong externally                              funded       research    program at UT            Key metrics
include



              12 peer reviewed              proceedings         at highly selective      conferences         in   rank   22 total        He

           published 8 conference                   papers with        his studentspostdocs             at   UT
           2 archival journal publications                      in   rank   6 total    He published one journal paper with his

           studentspostdocs                   at   UT
           He has published papers in highly selective conferences related to computer architecture
           and computer security including International Conference on Architectural Support for

           Programming Languages and Operating Systems                                  ASPLOS ACM Conference                     on Computer
           and Communications Security CCS IEEE International Symposium on Hardware Oriented
           Security and Trust         HOST International Symposium on High Performance Computer
           Architecture            HPCA International Symposium on Computer Architecture ISCA
           International           Symposium on Microarchitecture                     MICRO and USENIX Security Symposium
           An h index of 19 Google Scholar                           and 1271 citations2


While    in    rank Dr Tiwari has secured 15 research grantsgifts totaling more than $5 million in
external funding his share      is $35 million from a wide variety of sources including three federal

agencies3 and industry                 He is the        PI on   14 of the grants Three of his current grants extend beyond
the end of the          201819 academic year including two from NSF and one from DARPA


The letters from the external reviewers were positive and addressed                                       the impact of Dr Tiwaris

work and        his reputation          as   an emerging leader One reviewer                   made comments that can be
considered to be critical               but he qualified his observation and recommended promotion




1
    Refereed    conference         papers    in   highly selective     conferences  are the primary mechanism for disseminating

research      results   in   the   fields   of computer     architecture      and cyber security
2
    Dr Tiwaris most highly cited paper has 165 citations and is based on work completed during his graduate
studies at UCSanta   Barbara His most highly cited paper published in rank at UT has 78 citations
3   Defense    Advanced       Research       Projects    Agency       DARPA      National Science       Foundation       NSF and National
Security Agency         NSA
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           John Kubiatowicz                 Electrical        Engineering and Computer Science                UC Berkeley   expressed
           some concerns about Dr Tiwaris                          publication     record his last 5 years have been fairly

           productive               Mohits paper count may be a bit lower than others in a similar position but
           Id say that         it   is    more than sufficient


Advising and Student                 Mentoring
Dr Tiwari graduated one PhD student and three MS students                                      He comentored        one postdoctoral
fellow        He is currently advising seven PhD students one co supervised and one MS student                                          He
has also integrated undergraduate students into his research                                  team with three to five students

participating         each year



University          Service

Dr Tiwaris service              to   the university           has primarily been related to faculty recruiting and graduate

student recruiting              He has also been              actively   engaged   in curriculum       reformdevelopment within
ECE


Professional Service

Dr Tiwari is a member of several                         professional societies      and    actively   serves on the program

committees for top conferences                       in computer         architecture   and cybersecurity         He also serves   as   an

associate         editor for the          ACM Transactions         of Code Optimization4



He contributes          to    the central Texas community by serving as a cybersecurity                           advisor for startups

and    Dell       Childrens    Hospital


Other Evidence of Merit or Recognition

Dr Tiwari received              a CAREER          award from NSF in 2015 and he has received                    faculty   research awards

from Google           2014 and Qualcomm 2017                             Several of his papers    have been recognized        with best

paper awards


Overall Assessment

Dr Tiwari has established an outstanding                           reputation      in computer    architecture and cyber security

He has been extremely                    successful      in   securing external funding to sustain his research             efforts   His

teaching          record is solid and he            is   mentoring a large research          group He has provided          excellent

service    to      UT and professional communities                       within his field



Overall       I   believe    that    Dr Tiwaris performance                 meets expectations      in   the area of teaching   and
exceeds expectations                 in   the areas of research and service             Accordingly       I   am pleased to provide my
strong recommendation                      that   Dr Tiwari be promoted to associate professor with tenure




Sharon     L Wood Dean
10 November 2018




4
    The editorial board for ACM TACO includes 22 associate                       editors    from around the world
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                                                      Candidates Summary of Activities
                                                                              Mohit Tiwari
                                                Assistant Professor                               ECE Department
                                                                                   UT Austin

                                                                       Metric                                                                            Value

 Peer reviewed journal publications                       in rank and total                                                                         2+1            6+1

 Peer reviewed conference                     proceedings        in rank and total                                                                       12        22

 Number ofjournal papers
 coauthors
                                               in   rank with supervised students andor postdocs                                 rom UT as
                                                                                                                                                         1    +
 Number of journal papers                     in rank   with supervised             students        from      UT as coauthor                             1             1




 Total   citations   of all publications                career         from ISI Web of Knowledge                                                             178

 Largest   number of citations for a single paper based on work at UT ISI Web of
                                                                                                                                                              29
 Knowledge
 h index   career from ISI Web of Knowledge
 Total   citations   of all         publications        career from Google Scholar as of July 28 2018                                                    1150

 Largest   number of citations for a single paper based on work                                         at    UT Cowie Scholar                               145

 h index   career from Google Scholar                                                                                                                         18

 Total   external    research funding                 raised     in   rank                                                                           $ 5051v1

 Total   external    research funding                 raised     in   rank   candidates share                                                        $   356M
 Total   number of external grantscontracts                           awarded       in rank                                                                   15

 Number of external grantscontracts                           awarded        in   rank   as PI                                                                14



 PhD students completed sole supervisions                               and co supervisions                                                               I        0
 MS students completed                      sole supervisions          and co supervisions                                                               3         0

 PhD students in pipeline sole supervisions                             and co supervisions                  as   of 8312018         t                   6         1

 MS students in pipeline sole supervisions                              and co supervisions as of 8312018                        t                       10

 Number of courses taught

 Total   number of students taught                     in organized          courses                                                                         29    I




 Average       instructor         rating for     undergraduate           courses                                                                         405
 Average       instructor         rating for     graduate courses                                                                                        425
 Average course rating for undergraduate courses                                                                                                         385
 Average       course   rating          for   graduate courses

 Number of teaching awards



 Student organizations                 advised

 Undergraduate          researchers supervised                                                                                                           13   +            1




 Service   on    journal editorial boards

 Number of symposia organized


NOTES
    +1 invited  paper to Transactions on Computer Science     TOCS based on ASPLOS15 Best Paper Award
Ghostrider    A hardware software system for memory trace oblivious computation The paper has been invited
and pre accepted but     in preparation
                                  it    and hence not listed in the CV
                                       is




         ISI   Web of Knowledge                  is
                                                      missing crucial papers                  2   and   8 from Google Scholar ordered by           citation                count
and likely others            it   has   far lower citation            counts than Google            Scholar        for the   same papers and has a different set of

papers when ordered by                  citation      count



           Undergraduate                researchers       list
                                                                 comprises of            11   funded    summer and school year positions 2 unfunded

students and +1         is   an undergraduate             from Rice          University
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Mohit Tiwari




         Budget Council Statement                    on Teaching                for Faculty Promotion Candidate

                                                       Mohit Tiwari


This assessment         of Assistant Professor Mohit Tiwaris teaching contributions                                         was

prepared by Budget Council               Member         Professor Jonathan                 Valvano



Principal      area of teaching
Dr Tiwaris principal              area of teaching         is   in   computer engineering               in general         and

architecture      security and embedded                systems in specific                 As an assistant professor he has
taught three different            courses two lower division required undergraduate                                     classes   and one
advanced       graduate     class



Evaluation process

I   based this statement on review                of Dr Tiwaris teaching                   statement and portfolio

personal experiences              in class                                      student   courseinstructor              evaluations for
                                             peer evaluations

the last five years as well as my own firsthand                                 experience working            together teaching

different   sections       of the same       class   and    my understanding of curricular matters because
of my role on the          ECE curriculum            committee and as undergraduate advisor I also

personally observed          his class       on 362017 and 3192018                           I   have co taught EE319K with

Professor Tiwari three times and in so doing                           I   have     sat in   EE319K planningTA

meetings with him dozens of times



Teaching       Evaluation Procedures                 and Measures

The department uses course evaluation surveys and peer evaluations                                            It   is   normal    practice

to   conduct    official    course    evaluations at the conclusion                       of every class In spring

semesters       EE319K       is   a large enrollment            class      with 5 sections         I   was one of the
instructors     Spring 2015 Spring 2016 and Spring 2018 along with Professor Tiwari

Since    we have shared homework shared                         labs    and shared exams I can attest                      that

Professor Tiwaris students              were well taught each of these three semesters I think                                         his


teaching evaluations capture             an accurate            representation of his teaching



Peer evaluations are conducted                nominally once per academic                         year Peer evaluations are
made by tenured professors after a visit                    to the classroom                 The times and dates of these

visits   are agreed to beforehand so that there are no surprise visits

          Professor Valvano observed                  EE319K Embedded Systems during Spring 2015
          Professor Akinwande                observed      EE319K Embedded Systems during Spring 2016
          Professor Valvano observed                  EE319K Embedded Systems during Spring 2017
          Professor Valvano observed                  EE319K Embedded Systems during Spring 2018


Summary of Teaching                 Evaluations

The main indicator on the Course Evaluation                            Surveys used to evaluate                    teaching

performance       is   the Overall Instructor          Rating His in rank instructor ratings are
summarized        in   Table      1 The GPA for EE319K                      the undergraduate required class                      is


purposely      adjusted to        be about 30 for all sections Also this GPA                             is   consistent with other

classes at this     level Therefore           I   believe there            is   no bias in evaluation scores caused by




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Mohit Tiwari




perceived    grade expectations              The average     size of his graduate          class   is   14 students

slightly less   than equal to the department average                of 176


His weighted average          undergraduate instructor rating           is   398 out of 5 and his weighted
average    graduate   rating    is   422 out of 5 His performance              is   less   than the department

average    for undergraduate         courses     Spring 2018      ECE average = 422 and slightly below
the department average         for    graduate     courses     Spring 2018 ECE average = 446 In

summary his undergraduate ratings are acceptable                     and     his graduate          instructor     ratings    are

excellent



                                                                                                                        erall   course

                                                                                                                    Ming




                        11



                        LE 319K

 Spring 2018            II    319K                  4261                     46

   pring 2015           LE309                       1516                     36

 Fall 2013              EE 382V                     99                       45                                    45

 Fall 2014              EE 382V                     1018                     40                                    39

 Fall 2015              EE 382V                     1319                     42                                    38

 Fall 2017              EE 382V                     2326                     43                                    38

Table   1 CIS results for undergraduate and graduate                   teaching        EE319K            is   Introduction      to

Embedded Systems EE309K                 is   System Security       and EE382V is Security Hardware
Software Interfaces



Example negative comments from his CIS undergrad EE309K
    Rarely showed up          for class       EE309K was team taught

EE309K was not a traditional lecture course EE309K was the number that ECE students
usedwhen taking the freshman research initiative stream involving system security Dr
Tiwari was involved          in organizing       this   effort but was not the lead teacher                   The CIS
numbers reflect that the students              felt positive   about the opportunity           but may have been

confused               Dr Tiwari as the instructor Including
            on how to rate                                                             just his         EE319K     courses

                                          average is 401
his weighted undergraduate instructor CIS




Typical positive      comments from his CIS undergrad EE3I9K
    learned a lot

    constantly challenged            us with class problems

    awesome
    lectures were great and well organized

    super approachable




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Mohit Tiwari




   very approachable
   knowledgeable          and   excited   about     course material

   encouraged       to take control       of my own learning
   cares about      his    students

   extremely passionate about both the course                         material and          helping students learn



Typical negative comments from his CIS undergrad                                  EE319K
   covering more material from labs would be beneficial
   not well structured

   put more emphasis on lab related course material
   he has bad handwriting
   the first    lectures   were good the quality continually declined do not regret skipping



Typical positive    comments from his CIS grad                        EE382V
   Enthusiastic
   Learned a lot

   Explains very clearly
   was very effective
   enjoyed the discussions
   one of the best teachers so far


Example negative comments from his CIS grad EE382V
   Much      of the material went over my head
   This course was incredibly difficult                 and time consuming

   Labs were disorganized             but I learned from them

   could be more structured
   need to be more organized


Summarizing quotes from Professor Valvanos                                      Spring 2015         visit        exact date unknown
   Lectures      are extremely      engaging       He gives a highlevel                overview          of what they            will   be

   leaming and how the educational                 components             fit   together        During lecture he can get
   lost in the calculations       and would        benefit     by working out the details                        in   advance


Summarizing quotes from Professor Akinwandes                                       in class      visit      April          6 2016
   He spoke in a very casual sense that was very interactive with the students and
   approachable      The     instructor     repeated         student      questions        to   ensure      it   was       clear to all   The
   lecture   was often very       interactive      in that
                                                              many students            could       respond            to   or ask

                without     the   need to raise hands            It   was a very engaging                lecture           on Analog to
   questions

   Digital   conversion      and Sampling theorem Examples were solved together                                             in class    There

   were also in class practice programming functions Afterward the programming

   concepts    and methods were discussed collectively



Summarizing quotes from Professor Valvanos                                      in class   visit    March 6 2017
   He used a mixture of PowerPoint slides and blackboard The students were very
   engaged     with the game example and later they were engaged                                   with the prospect

   of creating    sound Students          felt   safe   to   ask and answer questions Negatives




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Mohit Tiwari




       Write     things    on the board you want them to copy                       into their   notes Your

       message on the blackboard             can      be scattered



Summarizing quotes from Professor Valvanos                                     in class   visit    March 19 2018
       He was very positive responding to students great great great that                                        is


       wonderful smiling great                                                                 His delivery was
                                                            very good question
                                                that is a

       articulate    He used PowerPoint               slides for    structure        but wrote a lot on the white

       board He paused frequently and asked                     for questions          He did an in class short
       quiz   to see if   students understood the key concepts                       Oust 5 minutes The

       professor and TAs walked            around answering             questions Negatives                White
       board management            and   size of writing        From the weekly           meetings     I   see he

       teaches    more basic fundamentals              rather     than delve into the details of how to

       execute lab assignments Consequently                     his   students       may learn more but require
       more effort to figure out stuff on their own and may have contributed                                   to   the

       lower     scores


Response to Student                and Peer Evaluation Leads to Continuous Improvement
There are not a lot of negative comments about Professor Tiwaris teaching                                             but one

theme that exists is his lecture organization                      Both peer review and student                  evaluations

suggest       he work on organizing             his   lectures     When he made adjustments to his lecture                        the

response was positive


One of the difficult            concepts   in   EE319K       is   teaching          C programming      to     students     with no

prior programming               experience other than         EE306BME303                  Basically       the problem       is


there are some students             with extensive programming                      experience and others             who just have
this   one prerequisite          class   EE306BME303 on assembly programming                                   and computer

architecture        Professor Tiwari approaches                   teaching software            design first    by example and
then by having students              work exercises         in class      His students appreciated              his desire to

make them think beyond the details of the course


Teaching         Portfolio

There are three aspects of Professor Mohit Tiwaris teaching                                    portfolio that       demonstrate

he is an effective and passionate                 educator        First   it   is   clear he   cares about his students

individually        He demonstrates a sincere               desire that they learn and rejoices                     when   they   do
Second he is willing to experiment with his teaching                                 style He not only tries new

approaches        but also evaluates         the outcomes          of the effort to       know what works and what
doesnt work Third he has a fundamental grasp of both the level of our student

population and what our students                   need to be successful              in their    careers     He uses these
incites to     design an effective         approach         when      teaching his courses



Comparison to Other Assistant Professors                              in the        Department
The CIS scores            for   Dr Tiwari are slightly lower than the other assistant professors
However          his teaching      service   new course on security and the freshman research
initiative     stream place him on or above                  efforts    from other assistant professors in the

department




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Mohit Tiwari




Describe participation         on graduate          committees
Professor Mohit Tiwari has one PhD student                  who passed the defense He has one PhD
student   in   candidacy He has eight PhD bound students                    in the   pipeline   He supervised
three   MS thesis students      in   rank that have graduated



Conclusions
There are many dimensions            to   the teaching    contributions         of a professor some measurable

quantitatively some measurable qualitatively                    On every dimension Professor Tiwaris
contributions     put him well above           the bar   his approach      to   teaching   not only what but why

his passion     for getting   students    to   learn his mentoring         of individual    students   his desire to


improve    his classroom      teaching     skills   and   his   constant   desire to   innovate his teaching

Professor Tiwari demonstrates the excellence that clearly                       supports this promotion




Summary prepared by Budget Council Member Professor Jonathan Valvano




Jonathan   Valvano




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                                                           Mohit Tiwari

                             Department of Electrical            and Computer Engineering

                                                    Course Rating Averages




Mohit Tiwari m128295 Assistant Professor                 ECE Department
What source was used to complete     this   chart   My CIS




EE319K Introduction         to   Embedded       Systems

                                             Number of
      Semester          Class Size           Responses              Instructor     Ratin         Course Rating

     Spring 2015           41                       26                       38                        36

     Spring 2016            39                      30                       43                        42

     Spring 201 7           78                      18                                                  33

     Spring 2018           61                       42                       46                        43
        Mean               55                       33                      405                        385
 CIS forms completed       electronically     outside     of class Hence   the   low turnout compared to other

years



EE 382V     Security at the Hardware Software Interface

                                             Number of
      Semester          Class Size           Responses              Instructor Rating            Course Rating

      Fall 2013             9                       9                        45                        45
      Fall 2014             18                      10                       40                        39
      Fall 2015             19                      13                       42                        38
      Fall 2017            26                       23                       43                        38
        Mean                18                      14                      425                        400


EE309K CS 378          Systems Security Freshman Research               Initiative   Fill   Stream
                                             Number of
      Semester          Class Size           Responses              Instructor     Rating        Course Rating

     Spring 2015            16                      IS                       36                        40
      Fall 2015             15                      3                        30                        33
      Fall 2016             10                      2                        50                        45
         lean               14                      7                       387                        393


Note FRI courses are taught by Research Educator                   RE with me
as   a mentor     My CIS scores here are thus not representative of my
undergraduate teaching
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                                                                                   Table           1 Research Summary

                                                                                        Metric                                                                           Value

             Peerreviewed             journal     publications          in rank and total                                                                              2+1          6+1

             Peer reviewed journal equivalent                           conference             proceedings        in rank and total                                      12         22

             Number of journal papers in rank with supervised students                                              andor postdocs            from UT
                                                                                                                                                                             1+1
             as   coauthors
             Number of journal papers in rank with supervised students                                              from UT as coauthor                                      1+1

             Number of journal equivalent conference papers in rank with supervised students                                                         andor post
             does from UT as coauthors

             Number of journal equivalent conference papers in rank with supervised students                                                         from UT as
             coauthor

             Total      citations     of all publications            career from ISI Web of Knowledge                                                                        178

             Largest      number of citations             for    a single paper based                 on work       at   UT ISI Web of
                                                                                                                                                                              29
             Knowledge
             hindex career from ISI Web of Knowledge
             Total      citations     of all    publications         career from Google                      Scholar     as ofJuly I 2018                                 1119

             Largest      number of citations             for    a single paper based                 on work       at   UT Google           Scholar                         143

             hindex career from Google                        Scholar                                                                                                          18

             Total      external      research funding           raised      in   rank personaltotal                for   UT                                       $356M$505M

             NOTES
                      +1 invited        paper to Transactions on Computer Science TOCS based on ASPLOS15 Best Paper Award
             Ghostrider               A hardware software system for memory trace oblivious computation

                         ISI    Web of Knowledge                is   missing crucial            papers        2   and     8 from Google Scholar ordered by          citation    count
             and likely others             it   has    far lower citation              counts than Google                Scholar   for the    same papers and has a different set of

             papers       when ordered by citation                   count


             Table        2 Current External Grants and Contracts

      Role of Candidate         and                                                                                                                      Project   Candidates
                                                                                           e                                                    cy                                        Grant Petiod
        Co Invest iga tors                                                                                                                                Total       Share

                                                CAREER        ExoCore An           Architecture to Detect         Malware
Pl Mohit     Tiwari                                                                                                                NSF CAREER            522000      522000               2015          2020
                                                as Computational Anomalies

                                                SaTC CORE Medium                  Guarding Noisy Neighborhoods
PI Mohit     Tiwari                                                                                                                NSF                   1200000     400000               2017          2021
                                                with   Weak   Detectors

     CoPis     Sanjay    Shakkottai

         Constantine       Caramanis

                                                CSR Medium           Extensible     Distributed Systems          Solutions
PI Christine Julien                                                                                                                NSF                   400000      200000               2017 2019
                                                for   Community      Supported      Child Independent          Mobility

     CoPI    Mohit Tiwari

PI Mohit     Tiwari                             Cyber Security Research           on    Power Models                               Lockheed    Martin    500000      166000               20162018
     CoPls     Michael     Orshansky
     Andreas    Gerstlauer

PI Mohit     Tiwari                             Mobile   Data Container                                                            General   Dynamics     166000     166000               2017   2019
PI Mohit     Tiwari                             Ensembles     of Moving Target           Defenses     for   Scalable    and        DARPA
                                                                                                                                                         748556      748556               20182021
                                                Composable      Hardware        Security

PI Nfohit    Tiwari                             Fine Grained     Contention       Detection        and Mitigation                  HuaweiCS
                                                                                                                                                          124000     62000                2018   2019
                                                                                                                                   Systems    Lab

     CoPI      Mattan    Erez

PI Mohit     Tiwari                             PSigns   Power       Channels     for   NIalware     Detection                     Google    award        50000      25000                       gift


     Co PI Vijay        Reddi

PI   Mohit Tiwari                               hardware based        N1alware Detection            Faculty   award                Qualcomm award         125000     125000                      gift


PI Mohit     Tiwari                             Anomaly     Detection     for Cloud        Radio    Access    Network              HuaweiWNCG             100000     30000                 WNCG gift
     CoPLs     Sanjay    Shakkottai

         Constantine       Caramanis

Total                                                                                                                                                    3935556    2444556
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GRANTS AND CONTRACTS                        Total    funding     $5049282           at   UT
                                            My share $3558282                at   UT


Acronyms      in   table   below in order of appearance               in   table

                    NSF     National Science       Foundation

                    SaTC Secure and Trustworthy Cyberspace
                    NSA National        Security Agency

                    UMD University of Maryland
                    CAREER     Faculty Early Career          Development           Program
                    C FAR     Center for Future Architectures               Research          httpswwwfuturearchsorga
                    I
                        Corps NSF Innovation Corps
                    DARPA      Defense    Advanced       Research          Projects      Agency

                    SSITH    System Security Integrated           Through          Hardware and Firmware

                    NSF CSR     National     Science    Foundation           Computer Systems Research



Co Investigators                           Title                                  Agency                  Grant Total            Period




None                            Digital    Insertion    and                       NSF SaTC                $416000               080113
                                Observation        Resistant                      program                                       073117
                                Execution     DIORE
None                            Human       Reasoning       about                 NSA Lablet         at   $62726                020714
                                Privacy and Security                              UMD                                           073117


VJ Reddi                        Power     Signatures for Mobile                   Google                  $50000                2014

                                Malware Detection                                 Research      Award     $25000
                                                                                                          total   PI   share



None                            ExoCore An Architecture                to         NSF CAREER              $522000               030115
                                Detect    Malware as                              award                                         022920
                                Computational        Anomalies



None                            Architectures       to Protect      Data          C FAR Center            $485000               050715
                                in   Motion                                       UMichigan                                     123117


None                            I Corps Trustworthy                               NSF    I
                                                                                             Corps        $50000                090115
                                Cyberspace        through      Data                                                             022916
                                security as   a    Service

M Orshansky                     Cybersecurity        Research     on              Lockheed      Martin    $500000               103116
A Gerstlauer                    Power     Models                                                          $166000               081518
                                                                                                          total   PI   share



S Shakkottai                   Anomaly       Detection for Cloud                  Huawei                  $100000               2016

C Caramanis                     Radio    Access    Network      Cloud                                     $30000
                                RAN                                                                       total   PI   share




                                                                  12
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None                        Hardware      Introspection               Samsung                 $100000                      013116
                            Mechanisms       for   Debugging                                                               060117
                            and Security



S Shakkottai                SaTC CORE Medium                          NSF SaTC                $1200000                     030117
C Caramanis                 Guarding Noisy                                                    $400000                      022921
                            Neighborhoods          with   Weak                                total      PI   share

                            Detectors



None                        Malware Detection                         Qualcomm       gift     $125000                      2017

                                                                      Faculty   Award




None                        Mobile   Data    Containers               General                 $166000                      063017
                                                                      Dynamics                                             083119


None                        Ensembles     of Moving       Target      DARPA SSITH             $748556                      103117
                            Defenses                                  program                                              011521




PI   C Julien               CSR Medium Extensible                     NSF CSR                 $400000                      090117
                            Distributed     Systems Solutions         1703497                 $200000                      083119
                            for   Community        Supported                                  total      PI   share

                            Child Independent         Mobility




Mattan Erez                 Finegrained      Contention               Huawei    CS            $124000                      080118
                            Detection     and Mitigation              Systems Lab             $620000           total


                                                                                              PI   share                   073119




PHD SUPERVISIONS       COMPLETED


Kazdagli             June 2018          Robust      Behavioral     Malware           Electrical    and            The University

Mikhail                                 Detection                                    Computer                     of Texas at

                                                                                     Engineering                  Austin




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                         Table 3 External Grants and Contracts Awarded                                                  in Rank        and Completed


      Role of Candidate      and                                                                                                     Project           Candidates
                                                                      Title                                        Agency                                           Grant Period
         Co Investigators                                                                                                             Total              Share
                                         TWC      Medium         Collaborative Research

PI Mohit      liwari                     DIORE         Digital   Insertion    and Observation                 NSF                    416000             416000      20132017
                                         Resistant      Execution

                                         Establishing a Science           of Security Research

PI Mohit      Tiwari                     tablet   at   The   University of Maryland               Human       NSA                    62726               62726      20142017
                                         Reasoning       about Privacy       and Security

                                         Hardware       Introspection        Mechanisms       for
PI Mohit      Tiwari                                                                                          Samsung                100000              100000     20162017
                                         Debugging       and Security

                                             Corps     Trustworthy Cyberspace             through
                                                                                                                                                                           2016
                                         I

PI Mohit      Tiwari                                                                                          NSF                     50000              50000      2015
                                         Data security       as a Service

                                                                                                              CFAR
                                                                                                              Center at
PI Mohit      Tiwari                     Architectures       to Protect      Data   in   Motion                                      485000             485000      2015   2017
                                                                                                              University    of

                                                                                                              Michigan

TOTAL                                                                                                                               1113726        I    1113726




                                                 Table       4 Pending External Grants and Contracts

      Role of Candidate      and                                                                                                                       Candidates
                                                             Title                                     Agency                    Project   Total                    Grant Period
         Co Investigators                                                                                                                                Share

PI Mohit      Tiwari                     Intel   ISRA     Oblivious
                                                                                            Intel                                  300000               300000      2018   2021
     1111JC Co   PI Chris Fletcher       Instruction     Set Architectures

                                         Salt CORE Small
PI Mohit      Tiwari                     Collaborative       Oblivious       ISAs
                                                                                            NSF                                    500000                250000     2018   2021
     UIUC CoPI Chris Fletcher            for   Secure and     Efficient      Enclave

                                         Programming
Il   Nlohit   Tiwari                     Mobile      Data Containers         Year 2         General    Dynamics                    217000               217000      20182019
PI Mohit      Tiwari                     Cyber Security          Research    on             Lockheed      Martin
                                                                                                                                   250000                83000      20182019
                                         Power    Models

     CoPIs Michael     Orshansky
     Andreas   Gerstlatier


TOTAL                                I                                                                                             1267000              850000
